    Case 3:18-cv-00645-M Document 6 Filed 04/17/18                Page 1 of 4 PageID 25


 UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION

                                                )
JOHN ANTHONY CASTRO,                            )
                                                )
               Plaintiff,                       )       Case No. 3:18-cv-00645-M
                                                )
       v.                                       )
                                                )
GEORGETOWN UNIVERSITY                           )
AND NAN HUNTER,                                 )
                                                )
               Defendants.                      )

 UNOPPOSED MOTION FOR LEAVE TO PROCEED WITHOUT LOCAL COUNSEL

       Defendants Georgetown University and Nan Hunter, by counsel, move for leave to

proceed without local counsel under LR 83.10.

       Undersigned counsel is an active member of the State Bar of Texas and of the bar of the

United States District Court for the Northern District of Texas, having been admitted to the

Northern District of Texas on January 21, 1999.         Defendants are moving to dismiss the

Complaint for failure to state a claim and, in the alternative, for lack of personal jurisdiction.

Defendants request leave to appear without local counsel through the proceedings regarding this

motion.

       Undersigned counsel has conferred by email with counsel for plaintiff, and plaintiff does

not oppose this motion.

       Accordingly, defendants respectfully request leave to appear without local counsel

through proceedings on the motion to dismiss. A proposed Order is attached.
    Case 3:18-cv-00645-M Document 6 Filed 04/17/18     Page 2 of 4 PageID 26


Dated: April 17, 2018

                                   Respectfully submitted,

                                    /s John A. Basinger               ___
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                                   Counsel for Defendants




                                     -2-
    Case 3:18-cv-00645-M Document 6 Filed 04/17/18                 Page 3 of 4 PageID 27


                            CERTIFICATE OF CONFERENCE

        I certify that I conferred with Joshua Milam, counsel for plaintiff, by email on April 12
and 13, 2018 concerning Defendants’ motion to proceed without local counsel, and that he
indicated that he had no opposition.


                                             /s John A. Basinger                  ___
                                            John A. Basinger




                                               -3-
     Case 3:18-cv-00645-M Document 6 Filed 04/17/18                 Page 4 of 4 PageID 28


                                CERTIFICATE OF SERVICE

        I certify that on this 17th day of April, 2018 that a copy of the foregoing Unopposed
Motion For Leave To Proceed Without Local Counsel was filed and served via the Court’s
electronic filing system on the following party:

       Joshua S. Milam
       CASTRO & CO., LLC
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                                              /s John A. Basinger                  ___
                                             John A. Basinger




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